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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

DAVID VAUGHN AND                      §
STEPHANIE HAWKINS-                    §
VAUGHN,                               §
                                      §     CIVIL ACTION NO. 4:15-cv-00874
        Plaintiffs,                   §
                                      §
vs.                                   §       JURY DEMAND
                                      §
GEOVERA SPECIALTY                     §
INSURANCE COMPANY,                    §
                                      §
        Defendant.                    §

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiffs David Vaughn and Stephanie Hawkins-Vaughn and Defendant

GeoVera Specialty Insurance Company hereby stipulate to the voluntary dismissal

with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiffs’ claims against Defendant GeoVera Specialty

Insurance Company are hereby dismissed with prejudice, with each party to bear

its own costs, if any.

        SO STIPULATED, this the 27th day of July 2015.




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                                     Respectfully submitted,


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                                     And


                                     /s/ Rhonda J. Thompson
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                         CERTIFICATE OF SERVICE

       This is to certify that on the 27th day of July, 2015, a true and correct copy
of the foregoing was delivered to the following counsel for Plaintiffs in accordance
with Federal Rule Civil Procedure 5(b):

        Via: Electronic File Notification and Email
        Charles Bryan Beverly
        Tyler Bleau
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